  Case 2:24-cv-00142-MV             ECF No. 8, PageID.36        Filed 10/29/24     Page 1 of 3



                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       NORTHERN DIVISION


JEROME HARLSTON #617887,

               Plaintiff,                          Case No. 2:24−cv−00142−MV

    vs.                                            Hon. Maarten Vermaat

UNKNOWN TAYLOR, et al.,

               Defendants.
                                         /



                        ORDER SETTING EARLY MEDIATION CONFERENCE



     This case was referred to the District Court's Pro Se Prisoner Civil Rights Litigation Early
Mediation Program.

          1.    The Court appoints Joshua Scott Goodrich as the mediator for this case.

          2. The mediation conference will take place on December 20, 2024 at 9:15 a.m. via
          video conference. The ADR Administrator will provide video connection details to the
          mediator and to Defendant(s), through counsel of record where applicable. The
          Michigan Department of Attorney General shall arrange the video conference with the
          Michigan Department of Corrections (MDOC). The MDOC shall ensure Plaintiff's
          participation.

          3. In preparation for the mediation conference, the parties shall review the Program
          Description, provided with the Order Staying Case and Referral to the Pro Se Prisoner
          Civil Rights Litigation Early Mediation Program (Stay Order).

          4.    In the Stay Order, the parties were encouraged to submit their mediation
          statements and supplements to the ADR Administrator as soon as possible. Any
          party that has not already submitted these documents must do so within fourteen (14)
          days of the date of this Order:

                   A. Mediation Statement. The Mediation Statement must be submitted to the
                   ADR Administrator and the attorney(s) for the opposing party (typically the
                   Assistant Attorney General). A form that may be used for this purpose was
                   provided to the parties with the stay order. The mediation statement is limited
                   to five (5) pages and should contain a brief statement about the nature of the
                   case and a brief discussion of disputed factual, legal, damages and evidentiary
                   issues. In addition to the 5−page statement, up to five (5) pages of exhibits
                   may be submitted. The envelope containing the mediation statement must
                   clearly state, "Contains Mediation Statement."

                   B. Mediation Supplement. The Mediation Supplement must be submitted to
                   the ADR Administrator only. A form that may be used for this purpose was
                   provided to the parties with the stay order. The mediation supplement is
Case 2:24-cv-00142-MV       ECF No. 8, PageID.37          Filed 10/29/24     Page 2 of 3



           limited to 1−2 pages and should contain a discussion of the party's strongest
           points, an honest discussion of the weakest points, realistic settlement options,
           including both monetary and non−monetary options, and a brief discussion of
           anything else that is important for the mediator to know before starting the
           mediation. The mediation supplement will be viewed only by the mediator and
           is not to be shared with, or sent to, the opposing side. The envelope
           containing the mediation supplement must clearly state, "Contains Mediation
           Supplement."

    The ADR Administrator will forward these documents to the assigned mediator. These
    documents are intended solely for mediation purposes and must not be filed or e−filed
    with the Judge or Clerk's office.

    All documents should be sent to the ADR Administrator at the following address:

                                      U.S. District Court
                                     ADR Administrator
                                      399 Federal Bldg.
                                    110 Michigan St. NW
                                   Grand Rapids, MI 49503

    5. If medical claims are raised in the complaint, the Court orders the disclosure of
    Plaintiff's medical records related to the complaint in accordance with the Health
    Insurance Portability and Accountability Act of 1996 (HIPAA) and its accompanying
    rules and regulations governing the disclosure, maintenance, use and disposal of
    protected health information (PHI) as follows:

           A. For purposes of this order, PHI shall have the same scope and definition
           as set forth in 45 C.F.R. § 160.103 and 164.501.

           B.    The MDOC, a covered entity as defined in 45 C.F.R. § 160.103, shall
           disclose Plaintiff's medical records related to the claims raised in the complaint
           to the ADR Administrator within fourteen (14) days of the date of this Order.
           Nothing in this Order relieves any covered entity, party, their attorneys, agents,
           or representatives, or other personnel who request, receive, and/or review
           documents containing PHI from complying with all other applicable state and
           federal laws and regulations regulating or governing the request, review, or
           disclosure of PHI pertaining to Plaintiff to the extent and subject to the
           conditions outlined herein.

           C.    The ADR Administrator is authorized to share PHI received under this
           Order with the appointed mediator, who is authorized to share PHI with any
           other PEM attendee (as set forth in Section VIII. of the Program Description) as
           necessary for purposes of mediation, provided that each intended recipient first
           agrees to comply with the terms of this Order.

           D.    Recipients of PHI from the mediator are entitled to use such PHI in any
           manner reasonably related to early mediation, which includes disclosure to
           their attorneys of record, the attorney's support staff, and agents, insurers,
           experts, and consultants.

           E. Recipients of PHI under this Order are prohibited from using PHI for any
           purpose other than those reasonably related to early mediation. All records
           containing PHI produced as part of this Order shall be confidential and will not
           be attached to any document filed with the Court without leave of Court.

           F.   Within thirty (30) days after the conclusion of early mediation, any person
Case 2:24-cv-00142-MV      ECF No. 8, PageID.38         Filed 10/29/24     Page 3 of 3



          or entity in possession of Plaintiff's PHI received pursuant to this Order shall
          return such PHI to the MDOC or destroy all copies, including electronically
          stored copies.

    IT IS SO ORDERED.



    Dated: October 29, 2024                  /s/ Phillip J. Green
                                           PHILLIP J. GREEN
                                           U.S. Magistrate Judge
